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		OSCN Found Document:STATE ex rel. OKLAHOMA BAR ASSOCIATION v. SWEET

					

				
  



				
					
					
						
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				STATE ex rel. OKLAHOMA BAR ASSOCIATION v. SWEET2021 OK 57Case Number: SCBD-7081Decided: 11/15/2021THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2021 OK 57, __ P.3d __

				
NOTICE: THIS OPINION HAS NOT BEEN RELEASED FOR PUBLICATION. UNTIL RELEASED, IT IS SUBJECT TO REVISION OR WITHDRAWAL. 

STATE OF OKLAHOMA, ex rel. OKLAHOMA BAR ASSOCIATION, Complainant,
v.
AMBER ANN SWEET, Respondent.
ORDER IMPOSING FINAL DISCIPLINE
¶1 This summary disciplinary proceeding initiated pursuant to Rule 7 of the Rules Governing Disciplinary Proceedings (RGDP)1 is on to consider the Oklahoma Bar Association's (OBA) request to enter a final order of discipline. Upon examination of the filings in this matter and after due notice to Respondent Amber Ann Sweet (Sweet), the Court finds and orders that:
¶2 In 2013, Sweet received her license to practice law in Oklahoma. This Court suspended Sweet's law license on June 10, 2019, for failure to comply with Mandatory Continuing Legal Education (MCLE) in 2018. This Court struck Sweet's name from the OBA's membership rolls on September 14, 2020, for her continued failure to comply with MCLE.
¶3 At some point before July 12, 2019, a husband and wife hired Sweet to prepare trust documents. She went to her clients' house on several occasions to create an inventory of various pieces of jewelry to include in the trust documents. From July 12 through July 30, 2019, Sweet pawned at least six pieces of jewelry owned by her clients for $2,910.00. Sweet falsely declared to the pawnbroker that she owned the pieces of jewelry. The clients then positively identified the pawned items as pieces of jewelry Sweet had handled in the preparation of the trust. Sweet was arrested and charged with Grand Larceny and False Declaration of Ownership in Pawn Shop.
¶4 On June 8, 2021, Sweet entered pleas of guilty to one count of Grand Larceny, a felony, in violation of 21 O.S. Supp. 2018, § 1705, and one count of False Declaration of Ownership in Pawn Shop, a felony, in violation of 59 O.S. Supp. 2018, § 1512(C)(2). The district court entered a deferred sentence of three years, until June 3, 2024.
¶5 On June 25, 2021, the OBA filed Rule 7 disciplinary proceedings against Sweet based on her pleas of guilty to the criminal charges. The Proof of Service showed that the OBA mailed the Notice of Plea of Guilty and Sentence certified mail, return receipt requested to Sweet at her official roster address and last known mailing address. A representative at Sweet's official roster address received the certified mailing on July 7, 2021, and Sweet received the certified mailing at her last known mailing address on June 28, 2021.
¶6 On September 13, 2021, this Court issued an Order of Immediate Interim Suspension and directed Sweet, no later than September 28, 2021, to show cause as to why the Court should set aside the interim suspension. To date, Sweet has never entered an appearance, responded to the notice, or answered this Court's order to show cause.
¶7 On October 8, 2021, the OBA filed a response to this Court's show cause order stating that Sweet had provided no legal basis as to why the Court should set aside the interim suspension or delay entering a final order of discipline. The OBA further stated that this Court suspended Sweet's license to practice law for failure to comply with MCLE and then struck Sweet's name from the OBA's membership rolls. The OBA contends that these actions and her criminal conduct reflect adversely on Sweet's honesty, trustworthiness, or fitness as a lawyer. The OBA recommends that this Court disbar Sweet.
¶8 Sweet failed to respond to this proceeding or give any reason as to why this Court should not impose final discipline. The integrity of the judicial system demands that attorneys respect its authority. State ex rel. Okla. Bar Ass'n v. Giger, 2003 OK 61, ¶ 34, 72 P.3d 27, 38. Oklahoma law requires that a person who holds a bar license to promptly and adequately respond to allegations of misconduct when lawfully requested to do so. State ex rel. Okla. Bar Ass'n v. Whitebook, 2010 OK 72, ¶ 23, 242 P.3d 517, 522. Attorneys who fail to answer formal charges of misconduct show disregard for this Court's authority and reveal "how little they value their license to practice law." State ex rel. Okla. Bar Ass'n v. Haave, 2012 OK 92, ¶ 15, 290 P.3d 747, 752. And those who fail to discharge these minimal burdens to protect their own interests cannot be expected or trusted to act to protect the interests of their clients, the public, and the legal profession. Id. Sweet's lack of participation in this proceeding demonstrates a disregard for this Court's authority. We therefore will not delay in imposing final discipline.
¶9 In disciplinary proceedings, this Court exercises exclusive original jurisdiction to carry out its nondelegable responsibility to discipline attorneys and to regulate the practice of law as may be necessary to safeguard the interests of the public, the judiciary, and the legal profession. State ex rel. Okla. Bar Ass'n v. Shofner, 2002 OK 84, ¶¶ 4-5, 60 P.3d 1024, 1027. This Court considers de novo every aspect of a disciplinary inquiry. State ex rel. Okla. Bar Ass'n v. Livshee, 1994 OK 12, ¶ 5, 870 P.2d 770, 773.
¶10 In determining the final discipline, we first find that the record reflects Sweet received sufficient notice and an opportunity to be heard in accord with due process established for disciplinary proceedings. See Whitebook, 2010 OK 72, ¶ 21, 242 P.3d at 522. Notice by mail to an attorney's official roster address satisfies due process. State ex rel. Okla. Bar Ass'n v. Knight, 2018 OK 52, ¶ 2, 421 P.3d 299, 301.
¶11 We next find that Sweet's guilty pleas furnish clear and convincing evidence that she committed the criminal acts alleged against her. Rule 7.2 of the RGDP provides as follows:
[A certified copy of a] plea of guilty, order deferring judgment and sentence, indictment or information and judgment and sentence of conviction . . . shall constitute the charge and be conclusive evidence of the commission of the crime upon which the judgment and sentence is based and shall suffice as the basis for discipline in accordance with these rules.
Rule 7.2, RGDP, 5 O.S. 2011, ch. 1, app. 1-A. Rule 7.1 of the RGDP provides that an attorney who has tendered a plea of guilty to a deferred sentence plea agreement for any crime which demonstrates such attorney's unfitness to practice law shall be subject to discipline. Rule 7.1, RGDP, 5 O.S.2011, ch. 1, app. 1-A. Not every criminal conviction facially demonstrates an attorney's unfitness to practice law. State ex rel. Okla. Bar Ass'n v. Armstrong, 1990 OK 9, ¶ 8, 791 P.2d 815, 818. However, answerable offenses typically involve violence, dishonesty, breach of trust, or serious interference with the administration of justice. Rule 8.4, Cmt. 2, Oklahoma Rules of Professional Conduct, 5 O.S.2011, ch.1, app. 3-A.
¶12 The totality of Sweet's conduct demonstrates her unfitness to practice law. Sweet has failed to comply with the mandatory MCLE requirements since 2018. A week before she committed the crimes, this Court suspended Sweet from the practice of law for failure to comply with MCLE. Sweet therefore engaged in the unauthorized practice of law when she visited her clients' house to create an inventory for the trust documents and stole the items of jewelry. The two felony crimes committed by Sweet undoubtedly involved dishonesty, fraud, deceit, and breach of trust. In this disciplinary proceeding, Sweet never responded or otherwise offered any explanation for her conduct. She has not requested a hearing, filed a brief, or submitted any evidence to support any mitigation of final discipline.
¶13 The sum of Sweet's actions--her continuing failure to comply with the MCLE requirements even after her suspension that resulted in this Court striking her name from the membership rolls, her unauthorized practice of law, her guilty pleas to two felonies, and her failure to respond to these disciplinary proceedings against her--combine to reflect adversely on Sweet's trustworthiness and fitness as a lawyer. Because of the gravity of Sweet's misconduct and as her culpable acts are neither mitigated nor explained by extenuating circumstances in the record, there is no basis for a sanction less severe than that of disbarment. See State ex rel. Okla. Bar Ass'n v. Cantrell, 1987 OK 17, ¶ 2, 734 P.2d 1292, 1293. This Court holds that Sweet be disbarred. See, e.g., State ex rel. Okla. Bar Ass'n v. Cook, 1983 OK 33, 661 P.2d 531 (disbarring an attorney for committing the crimes of embezzlement and false account of officer).
¶14 IT IS THEREFORE ORDERED that Respondent Amber Ann Sweet is disbarred from the practice of law in Oklahoma. Sweet's failure to respond or defend has kept the costs of this proceeding at a minimum and, therefore, this Court assesses no costs to Sweet.
¶15 DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE ON NOVEMBER 15, 2021.
/S/CHIEF JUSTICE
ALL JUSTICES CONCUR.
FOOTNOTES
1 Rule 7, Rules Governing Disciplinary Proceedings, 5 O.S.2011, ch. 1, app. 1-A.




	Citationizer© Summary of Documents Citing This Document
	
	
		
		Cite
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	None Found.
	
	
	Citationizer: Table of Authority
	
	
		
		Cite
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	Oklahoma Supreme Court Cases
&nbsp;CiteNameLevel

&nbsp;1987 OK 17, 734 P.2d 1292, State ex rel. Oklahoma Bar Ass'n v. CantrellDiscussed
&nbsp;1990 OK 9, 791 P.2d 815, State ex rel. Oklahoma Bar Ass'n v. ArmstrongDiscussed
&nbsp;1994 OK 12, 870 P.2d 770, State ex rel. Oklahoma Bar Assn. v. LivsheeDiscussed
&nbsp;2002 OK 84, 60 P.3d 1024, STATE ex. rel. OKLAHOMA BAR ASS'N v. SHOFNERDiscussed
&nbsp;2003 OK 61, 72 P.3d 27, STATE ex rel. OKLAHOMA BAR ASSOCIATION v. GIGERDiscussed
&nbsp;2010 OK 72, 242 P.3d 517, STATE ex rel. OKLAHOMA BAR ASSOCIATION v. WHITEBOOKDiscussed at Length
&nbsp;2012 OK 92, 290 P.3d 747, STATE ex rel. OKLAHOMA BAR ASSOCIATION v. HAAVEDiscussed
&nbsp;2018 OK 52, 421 P.3d 299, STATE ex rel. OKLAHOMA BAR ASSOCIATION v. KNIGHTDiscussed
&nbsp;1983 OK 33, 661 P.2d 531, State ex rel. Oklahoma Bar Ass'n v. CookDiscussed
Title 21. Crimes and Punishments
&nbsp;CiteNameLevel

&nbsp;21 O.S. 1705, 21 O.S. 1705, Grand Larceny - PenaltyCited
Title 59. Professions and Occupations
&nbsp;CiteNameLevel

&nbsp;59 O.S. 1512, Administration and EnforcementCited


	
	








				
					
					
				

		
		




	
		
			
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